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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


     ALEJANDRO MENOCAL,
     MARCOS BRAMBILA,                                     Civil No. 1:14-cv-02887-JLK
     GRISEL XAHUENTITLA,
     HUGO HERNANDEZ,
     LOURDES ARGUETA,
     JESUS GAYTAN,
     OLGA ALEXAKLINA,
     DAGOBERTO VIZGUERRA, and DEMETRIO
     VALERGA
     on their own behalf and on behalf of all others
     similarly situated,
                                  Plaintiffs,

            v.

     THE GEO GROUP, INC.,

                                   Defendant.


                                                              ___________________________

                                    JOINT STATUS REPORT


         This Court previously granted a stay pending appeal. ECF No. 400. On October 22, 2024,

the Tenth Circuit Court of Appeals issued an Order and Judgment, ECF No. 410, dismissing

Defendant The GEO Group, Inc.’s (“GEO”) appeal of the Court’s Order Granting Plaintiffs’

Motion for Summary Judgment on GEO’s Affirmative Defenses. ECF No. 380. Pursuant to the

Court’s December 7, 2022 Minute Order, ECF No. 400, the Parties conferred on October 31,

2024 and now submit this Joint Status Report.

I.       Status of Appeal.

         GEO informed Plaintiffs that it intends to seek a writ of certiorari from the Supreme Court

of the United States on the Tenth Circuit’s Opinion. GEO’s deadline to file the writ is January 20,
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2025, and it intends to move for a stay of the Tenth Circuit’s mandate under Fed. R. App. P. 41(d).

Plaintiffs do not intend to oppose GEO’s motion for a stay of the mandate during the pendency of

the writ, so long as that motion contemplates keeping the stay in this Court in place under the terms

previously ordered by the Court. See ECF No. 400.

II.    The Current Stay.

       After conferral, the parties agree that the stay ordered by the Court at ECF No. 400 should

remain in place on the same terms as ordered in ECF No. 400. The Parties propose to submit a

further status report once the Supreme Court has ruled on GEO’s petition for certiorari, and to set

forth their views on the appropriate timing for trial dates therein. The Parties agree that Plaintiffs

may refile their Motion for a Jury View and it may be heard during the pendency of the Stay at the

Court’s discretion. Plaintiffs respectfully request the Court permit them to refile the Motion for a

Jury View not later than November 20, 2024 and that responsive briefing proceed according to the

local rules. Nothing in GEO’s agreement to this position is intended to alter or change the Court’s

rulings in Docket Numbers 400 and 401.




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 Dated: November 5, 2024                        Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 5th day of November, 2024, a true and correct copy of the

foregoing Discovery Status Report was electronically filed with the Clerk of the Court using

the CM/ECF electronic filing system, which will send notification to all counsel of record.


                                                     s/ Michael J. Scimone
                                                       Michael J. Scimone




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